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Revealed: Sanjeev Gupta’s circular money trail
   thetimes.co.uk/article/revealed-sanjeev-guptas-circular-money-trail-5xzwnjppt

John Collingridge

Tycoon raised cash from Greensill by selling himself steel

John Collingridge
Saturday April 17 2021, 6.00pm BST, The Sunday Times




                                  Sanjeev Gupta, pictured with his wife, Nicola

Sanjeev Gupta’s Liberty Steel raised cash from finance firm Greensill Capital by selling steel
that it then planned to buy back itself, stoking concerns about how his stricken empire was
funded.

Documents seen by The Sunday Times show that Liberty Steel Newport in south Wales used
a circular trading scheme whereby it sold steel to a company with close links to the tycoon,
which another Gupta business was then to buy back.

That £2.5 million sale allowed Liberty to borrow from Greensill via invoice discounting.
Liberty was then free to sell the same steel again, this time to a different customer, and raise
more cash from Greensill against that second sale.

The circular transactions raised alarm among several of Gupta’s staff. The disclosure sheds
light on the risky financing that helped turn Gupta’s GFG Alliance into a $20 billion turnover
empire employing 35,000 staff in just five years.




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The Indian-born, Cambridge-educated tycoon is scrambling to raise cash for that vast
collection of steel, energy and commodities trading businesses after Greensill collapsed into
insolvency last month amid concerns about its trading and close relationship with Gupta.
About 5,000 jobs in the UK are at risk.

Tory MP Richard Fuller last month used parliamentary privilege to ask business secretary
Kwasi Kwarteng whether the matter should be investigated by the Serious Fraud Office.

Fuller said: “An acquisition strategy based on supply chain financing arrangements, plus a
future receivables derivative scheme, plus an additional month’s cash-flow, and a liberal mix
of state guarantees, has the characteristics of a potential Ponzi scheme.”




Gupta denies any wrongdoing.

The documents show that Liberty Steel Newport sold £2.5 million of coils and tubes to VS
International (VSI), a metals trading business with links to GFG. VSI was established in 2015
by Vikrant Sharma — who was until recently described as the president of Gupta’s Liberty
Steel Holdings USA.



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Liberty was then able to raise cash from Greensill, which provided finance against the
invoice from VSI. Typically, Greensill lent Liberty 80 per cent of an invoice’s value,
suggesting that it handed Liberty £2 million, to be repaid more than 100 days later.

Documents show that VSI would then sell that steel to Gupta’s CS Management Services,
which in turn would sell the steel back to Liberty Steel Newport. That same steel was then to
be sold for a second time, to a third party, with Greensill again providing cash against that
invoice.




Liberty Steel’s Aldewerke mill in Rotherham

BLOOMBERG VIA GETTY IMAGES

That circular trade allowed Liberty to raise millions of pounds of cash from Greensill — albeit
temporarily — from a single shipment of steel. It is not clear whether the steel was even
physically delivered to VSI.

Nor is it clear whether the trade met the terms of Greensill’s financing arrangement with
Liberty, under which the Australian banker Lex Greensill’s eponymous firm provided billions
of pounds to the commodities trader. Internal documents show that an invoice, or receivable,
was only eligible for financing by Greensill if it related to “an actual and bona fide sale of
tangible moveable goods”. Greensill declined to comment.

However, the transaction appeared to be sanctioned by senior Gupta lieutenants including
Derek O’Reilly, finance director of Liberty Industries, and Rajeev Gandhi, finance chief of his
Simec energy division.

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GFG said: “We refute any suggestion of wrongdoing. We abided by all the normal rules that
apply to inventory-based financing and in full knowledge of all parties involved.

“While GFG companies have done business with people known to the founder, the company
has long-term customer relationships with major infrastructure, industrial, aerospace and
automotive customers — as you would expect from one of the world’s largest steel producers
and the operator of Europe’s largest aluminium smelter.”

Selling a product and then repurchasing it is not illegal, but GFG did not say why the circular
trade was necessary.

Greensill’s administrator, Grant Thornton, is trying to recoup $5 billion (£3.6 billion) that
Greensill lent to GFG — money that Gupta has stopped repaying.

Credit Suisse, which invested in Greensill’s supply chain finance funds, is trying to claw back
its $1.2 billion of exposure to GFG and has launched proceedings to wind up several of
Gupta’s businesses.

However, those attempts are being delayed by coronavirus measures that give breathing
space to firms facing winding up petitions.

VS International is one of several companies with close links to Gupta run by individuals
known internally as “Friends of Sanjeev”.

Gupta also used such companies to borrow from the government’s business interruption loan
scheme for large companies hit by the pandemic — exceeding the scheme’s £50 million limit
through eight separate loans to GFG and companies linked to his empire.

VSI is now run by a German businessman, Christian Marc-Olivier Favre, and is owned by
Evershine Metals, a Singaporean metals trading business. Accounts show that it generated
$92 million of turnover in 2019 and profits of $157,000.

It is based in a serviced office in central London, has no website or phone number and
employs one person. VSI’s auditor, King & King, a small firm based in central London, also
audits Liberty Steel Newport. VSI has borrowed from Gupta’s Wyelands Bank.

VSI temporarily owned Nathrach Hydro, a Scottish renewable power business that it bought
from Gupta in 2018 but sold in 2019.

Favre and Sharma did not respond to requests for comment.

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OLIVER SHAH

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April 18 2021, 12.01am BST

Oliver Shah

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